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AO 440 (Rev. 05/00) Summons in a Civil Action



                                                                                  OURT




CHARLES F. GILBERT and SANDRA D.
GILBERT
                                                                 CASE NUMBER:       1: 19-cv-0 1686
                                V.                               ASSlGNEDJuDGE:
                                                                                    Hon. John Robert Blakey
 DMO HARRIS. N.A.: NATIONSTAR MORTGAGI! LLC. D/8/A MR. COOPER:
 AMERICAN HONDA FINANCE CORPORATION: FORD MOTOR CREDIT
 COMPANY LLC. 0/B/A LINCOLN AlITOMOTIVE FINANCIAL SERVICES:
                                                                 DESIGNATED
 TAMMAC HOLDINGS CORPORATION. D/8/A TAMMAC FINANCIAL: WELLS
 fARGO BANK. N.A.: TRANSUNION, LLC: and EQUIFAX INFORMATION      MAGISTRATEJUDGE:   Hon. Mary M. Rowland
 SERVICES, LLC




                    TO:   {Name and address of Defendant)

                  TRANSUNION, LLC
                  c/o REGISTERED AGENT
                  PRENTICE HALL CORPORATION
                  80 I ADLAI STEVENSON DRIVE
                  SPRINGFIELD, IL 62703

          YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF'S ATTORNEY (name and address)

                 Majdi Y. Hijazin
                 Sulaiman Law Group, Ltd.
                 2500 South Highland Avenue, Suite 200
                 Lombard, IL 60148


                                                                              21
an answer to the complaint which is herewith served upon you,        _________ days after service of this
summons upon you, exclusive of the day of service. If you fail to do so,judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.




                                                                                      arch 11, 2019
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ClientCaselD:                             56350                      CaseReturnDate:        3/16/19

                                                                             Affidavit of A PRIVATE INVESTIGATOR


       UNITED STATES DISTRICT COURT, NORTHERN DISTRICT OF ILLINOIS
                                                                               Case Number 1: 19-CV-01686

I, JOHN J PENNELL
FIRST DULY SWORN ON OATH STATES THAT I AM OVER 18 YEARS OF AGE AND NOT A PARTY TO THIS SUIT AND IS
A REGISTERED AGENT OF THE ILLINOIS DEPARTMENT OF PROFESSIONAL REGULATION PRIVATE DETECTIVE
AGENCY ACT LICENSE NUMBER #117.001633


                                             CORPORATE SERVICE

THAT I SERVED THE WITHIN SUMMONS & COMPLAINT
ON THE WITHIN NAMED DEFENDANT TRANSUNION, LLC.
PERSON SERVED LYLE NEEMAN, AUTHORIZED AGENT
BY LEAVING A COPY OF EACH WITH THE SAID DEFENDANT ON 3/18/19




That the sex, race and approximate age of the whom I left the    SUMMONS & COMPLAINT
are as follow:

Sex    MALE       Race   WHITE           Age      68       Height     5'6"          Build     MEDIUM        Hair    GRY

LOCATION OF SERVICE
                              801 ADLAI STEVENSON DR.
                              SPRINGFIELD, IL, 62703


Date Of Service     3/18/19                 Time of Ser,ice     2:ii5 PM         �\_1._/':.      0

                                                                                    \
                                                                -J���-J-�;��E-L�-    � �,___3_/_1g..._/2:..::0.::19_j
                                                                A PRIVATE INVESTIGATOR
                                                                PRIVATE DETECTIVE# 115 002074
                                                                                                               � d
Under penalties of perjury as provided by law pursuant to Section 1-109 of the Code of Civil Procedure, the undersign l:l

                                                                               �:Q /
                                                                ----- --- -''tci-- ------ \__
cert1f1es !hat the statement are twe and correct, except as to matters therein stated to be on mfo at1on and belief and such
matters the undersigned certifies as aforesaid that he/she verily believes same                   r
                                                                                                  J..L
